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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO

 UNITED STATES OF AMERICA,

                Plaintiff,

 vs.                                                                        No. CR-02-942 MV

 RUSSELL HARRISON,

                Defendant.


                             MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant Russell Harrison’s Motion to

Withdraw Plea [Doc. No. 181]. The Court, having considered the motion, briefs, relevant law

and being otherwise fully informed, finds that the motion is well taken and will be GRANTED.

       On January 7, 2002, Mr. Harrison was arrested after a search of his car by border patrol

agents and, on January 8, 2002, was charged with possession with intent to distribute and

conspiracy to manufacture methamphetamine. Magistrate Judge Leslie Smith appointed Herman

Ortiz as counsel for Mr. Harrison in this matter. On March 10, 2003, Mr. Harrison pled guilty to

an information charging him with conspiracy to manufacture five grams and more of

methamphetamine.

       On July 3, 2003, Mr. Ortiz filed a motion to withdraw as counsel [Doc. No. 142]. Judge

Karen Molzen granted the motion on July 8, 2003, appointing Jess Lilley in his place. On January

24, 2004, Mr. Harrison filed the present motion to withdraw his plea.

       Rule 11(d) of the Federal Rules of Criminal Procedure states that to prevail on such a

motion after the court has accepted a plea, a defendant must “show a fair and just reason for

requesting the withdrawal.” FED. R. CRIM. PRO. 11(d)(2)(B). “Motions to withdraw a plea
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‘should be viewed with favor’and ... a ‘defendant should be given a great deal of latitude.’”

United States v. Siedlik, 231 F.3d 744, 748 (10th Cir. 2000) (quoting United States v. Rhodes,

913 F.2d 839, 845 (10th Cir. 1990)). “It is within the sound discretion of the trial court to

determine what circumstances justify granting [a withdrawal] motion.” Id. (quoting United States

v. Hickok, 907 F.2d 983, 986 (10th Cir. 1990)). In determining whether a defendant has met his

burden in presenting “fair and just” reasons for withdrawal, the Court looks to the following

factors:

           (1) whether the defendant has asserted his innocence; (2) whether the government
           will be prejudiced if the motion is granted; (3) whether the defendant has delayed
           in filing the motion; (4) the inconvenience to the court if the motion is granted; (5)
           the quality of the defendant's assistance of counsel; (6) whether the plea was
           knowing and voluntary; and (7) whether the granting of the motion would cause a
           waste of judicial resources.

Id. at 749.

           Although Defendant has not presented any argument on the issue of innocence, a

consideration of the remaining factors demonstrates that Defendant is entitled to withdraw his

plea, given the facts of this case. Both at the motion hearing and in its briefs, the Government

asserted that allowing Defendant to withdraw his plea would prejudice its case. However, the

Government’s claim is based solely on conjecture: namely, that “memories of some of the

government witnesses may well have faded.” (Govt’s Resp. at 5 (emphasis added).) The

Government’s concerns about the memory of its witnesses is not based on any concrete facts.

Additionally, the Government still retains access to written records made around the time of the

offense, arrest and investigation. As a result, the Court has no reason to believe that prejudice

will in fact inure if Defendant’s motion is granted.



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        Moreover, the Court is particularly concerned by the events that transpired on the day of

Defendant’s plea hearing. These events indicate that Defendant’s request for new counsel was

overlooked and that Defendant’s legal representation was actually defective. The transcript

reflects that, prior to the plea hearing, Defendant had submitted a letter to the court, through his

mother, stating that he wanted new counsel. When the judge asked Defendant, “Are you satisfied

with your lawyer at this point or do you want a new counsel?,” Defendant responded, “At this

point I do.” (Trans. at 5.) However, Defendant’s statement apparently went unacknowledged

because the court continued with the plea hearing without taking any further action on the request

for new counsel. Thus, although Defendant did answer affirmatively when asked whether he was

satisfied with his lawyer “in all respects” (Trans. at 9) and with his lawyer’s representation in

negotiating the plea (Trans. at 13), Defendant conceded as much only after the court overlooked

or ignored his initial request for a change of counsel.

        Of equal if not greater concern is defense counsel’s misstatements at the plea hearing

concerning Defendant’s sentence under the plea. Defendant stipulated in the plea agreement that

the amount of methamphetamine attributable to him was “approximately 42 grams of pure

methamphetamine or actual methamphetamine.” (Trans. at 6.) Yet, later in the hearing, after

conferring with Defendant off the record, defense counsel explained that he had been “advising

[Defendant] that ... it’s just possible in this case that probation could conclude in their

investigation that maybe the meth was less. And that’s been one of the disputes in this case, is the

amount of meth.” (Trans. at 18-19.) This statement by counsel suggested to Defendant that

Probation’s conclusions about the quantity of drugs could result in a lower offense level under the

Sentencing Guidelines. However, whatever determination Probation might have reached would


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have been irrelevant since the parties had already stipulated to a particular amount in the plea

agreement.

       As such, the Court finds that the quality of defense counsel’s representation was deficient

and materially so. At the plea hearing, counsel stated that Defendant’s offense level would be 24

or, in a “worst case” scenario, would be 30 depending on whether the methamphetamine in the

case was “actual” or a “mixture.” (Trans. at 14-15.) However, counsel was not faced with

hypothetical facts here; he was presented with an actual case and ought to have known by then

what type of narcotics was involved. Additionally, Defense counsel’s statement that Probation

could conclude that Defendant had been responsible for a smaller quantity than that stipulated in

the plea agreement gave Defendant the false impression that his sentence might be based on an

amount other than that contained in the plea. That is, Defendant was led to believe that,

notwithstanding the plea, the Court retained discretion to impose a lesser sentence than that which

would be required under the terms of the plea. Counsel clearly should have known that because

the quantity had been stipulated, Defendant was certain to be sentenced on that quantity alone

after the plea was accepted by the Court. As a result of the uncorrected statements of defense in

counsel both on and off the record during the plea hearing, the Court finds that Defendant’s

consent to the plea agreement was not fully informed and based on patently false facts.

       Permitting Defendant to withdraw his plea will not result in a waste of judicial resources,

given the errors that were made on the record and in open court. Ensuring the integrity of judicial

proceedings and the reliability of representations made to the Court by officers of the Court is in

the Court’s own interest, just as is promoting judicial economy. Allowing Defendant to withdraw




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a plea made under false assurances that were accepted by the Court and made in the face of

Defendant’s request for new counsel only furthers these judicial interests.

         Having considered the various factors implicated in granting a motion to withdraw a plea

agreement, the Court finds that Defendant has shown “fair and just” reasons justifying

withdrawal.

         IT IS THEREFORE ORDERED that Defendant Russell Harrison’s Motion to

Withdraw Plea [Doc. No. 181] is hereby GRANTED.

         Dated this 12th day of February, 2004.




                                              MARTHA VÁZQUEZ
                                              CHIEF UNITED STATES DISTRICT JUDGE

Attorney for Plaintiff:
Alfred Perez

Attorney for Defendant:
Jess Lilley




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